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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       FRANKFORT
 BRYAN C. SPEARS,                                  )
                                                   )
           Plaintiff,                              )         Civil No. 3:21-cv-00047-GFVT
                                                   )
 V.                                                )
                                                   )
 WELLS FARGO BANK N.A. d/b/a WELLS                 )                     ORDER
 FARGO HOME MORTGAGE., et al.,                     )
                                                   )
           Defendants.
                                        *** *** *** ***

          This matter is before the Court on Plaintiff Bryan Spears and Defendant Trans Union,

LLC’s Joint Stipulation of Dismissal with Prejudice. [R. 37.] The parties being in agreement,

and the Court being sufficiently advised, it is hereby ORDERED as follows:

      1. All of the Plaintiff’s claims against Trans Union, LLC in this action shall be, and hereby

         are, DISMISSED WITH PREJUDICE, with each party to pay their own costs and fees,

         and;

      2. All Defendants having been dismissed, this matter is hereby STRICKEN from the

         Court’s active docket.

         This the 8th day of August, 2022.
